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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    NATIONAL WOMEN’S LAW CENTER, et )
    al.                             )
                                    )
         Plaintiffs,                )
                                    )                   Civil Action No. 17-2458 (TSC)
                  v.                )
                                    )
    OFFICE OF MANAGEMENT AND        )
    BUDGET, et al. 1
                                    )
                                    )
         Defendants.                )




    DEFENDANTS’ NOTICE IN RESPONSE TO THE COURT’S APRIL 11, 2019 ORDER

        In response to the Court’s April 11, 2019 Order, see ECF No. 64 at 1, Defendants submit the

following list of individuals who will “be prepared to testify if requested by the court”:

     1. Samuel C. Haffer, Ph.D.
        Chief Data Officer and Director of Enterprise Data and Analytics
        U.S. Equal Employment Opportunity Commission

        Dr. Haffer has knowledge of the issues addressed in both Defendants’ April 3, 2019 filing and
        his accompanying Declaration.

     2. Dominic J. Mancini, Ph.D.
        Deputy Administrator, Office of Information and Regulatory Affairs (“OIRA”)
        Office of Management and Budget

        Mr. Mancini has knowledge about OMB’s decision to stay and review the EEO-1 collection.




1
 Pursuant to Rule 25(d), Paul Ray, in his official capacity as Acting Administrator of the Office of
Information and Regulatory Affairs (“OIRA”), is substituted for Neomi Rao, in her former official
capacity as Administrator of OIRA.

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Dated: April 15, 2019               Respectfully submitted,

                                    JOSEPH H. HUNT
                                    Assistant Attorney General

                                    CARLOTTA WELLS
                                    Assistant Branch Director

                                    /s/ Tamra T. Moore
                                    Tamra T. Moore
                                    Senior Counsel
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